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               Alex Jones Case (Case 22-33553)
                       Profit and Loss
                        For the Month Ended
                         December 31, 2023


Income
 Book Sales Income                            $   168,199
 Bourbon Sales                                     74,047
   Bourbon Sales Fees                             (22,214)
 Total Bourbon Sales                               51,833
 FreeSpeech Payroll                                42,308
 Interest Income                                       72
 Rental Income                                      1,200
 Sales of Product Income                          186,353
   Cost of Goods Sold                             (32,039)
   Selling Expense                                (76,735)
 Total Sales of Product Income                     77,579
 Subscription Sales                                43,325
   Subscription Fee Owed                          (12,998)
 Total Subscription Sales                          30,328
 Video Game Revenue                               100,958
   Video Game Fees                                (50,479)
 Total Video Game Revenue                          50,479
Total Income                                      421,997
Payroll Deductions
 Child Support- Garnished                           1,846
 Medical Insurance Premiums                         1,815
 Payroll Taxes withheld                            12,577
Total Payroll Deductions                           16,238
Gross Profit                                      405,759
Expenses
 Living Expenses
   Auto/Trucks/Watercraft
     Auto/Boat Maintenance                            824
     Auto/Truck/Boat Insurance                      3,469
     Boat Storage                                     860
     Fuel                                             275
   Total Auto/Trucks/Watercraft                     5,428
   Family
     Child Care                                     3,779
     Groceries                                      4,366
     Homestead
      Maintenance                                   4,415
         Housekeeping                               3,900
         Misc. Supplies and Services                2,996
      Total Maintenance                            11,311
      Phone/Internet                                  408
      Property Insurance                            1,006
      Property Tax                                    (46)
      Repairs                                         100
      Utilities                                     2,081
     Total Homestead                               14,860




Case 22-33553                                                        Unaudited
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                Alex Jones Case (Case 22-33553)
                        Profit and Loss
                               For the Month Ended
                                December 31, 2023


      Household Purchases                                                       79
      Insurance                                                                126
      Meals & Entertainment                                                   3,067
        Apple/Netflix/Hulu charges                                             418
      Total Meals & Entertainment                                             3,485
      Medical                                                                 1,863
      Other                                                                    752
      PreNup Obligation                                                      15,184
      Total School and Kid's Activities                                       1,200
    Total Family                                                             45,694
  Total Living Expenses                                                      51,122
  Other Expenses
    Bank Charges & Fees                                                        449
    Business Expenses                                                           32
     Interest Paid                                                             156
    Internet/Phone                                                             220
    Legal & Professional Services (1)                                       252,220
    Loss/(Gain) on Sale of Assets                                           (4,425)
    Real Estate
      Lakehouse
        Lakehouse Insurance                                                    352
        Lakehouse Internet                                                     356
        Lakehouse Maintenance                                                  871
        Lakehouse Property Tax                                                 943
        Lakehouse Utilities                                                     42
      Total Lakehouse                                                         2,563
      Ranch property                                                            27
      Rental Property Tax                                                      668
    Total Real Estate                                                         3,258
    Rental Storage Units                                                      2,109
  Total Other Expenses                                                      254,020
  US Trustee Fees                                                            10,284
Total Expenses                                                              315,426
Net Operating Income                                                         90,333
Other Income
  Donations                                                                  22,615
Total Other Income                                                           22,615
Net Other Income                                                             22,615
Net Income                                                              $   112,948
(1) Includes adjustment for $28,378 for unapplied payment to balance.




Case 22-33553                                                                         Unaudited
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                            Alex Jones
                           Balance Sheet
                         As of December 31, 2023

                                                       Total
 ASSETS
  Current Assets
   Bank Accounts
     Bank of America #2913                                      956
     Bank of America #6078                                      951
     Chase #3520                                               1,207
     Chase #7518                                               1,197
     PNC #5233 DIP                                        878,810
     Prosperity Bank #9175                                      853
     Security Bank #8548                                       1,053
   Total Bank Accounts                             $      885,026
   Accounts Receivable
     Accounts Receivable                                  118,139
   Total Accounts Receivable                       $      118,139
   Other Current Assets
     Cash on Hand                                              1,000
     Federal Income Tax Receivable                      3,370,713
     GiveSendGo-Legal                                      10,461
     Inventory Platinum                                   307,081
     Petty Cash for Child Care                                  120
     Prepayment -Legal Account                             50,000
     Rental Property Escrow                                    6,245
     Undeposited Funds-Auto Sale                           72,000
     Undeposited Funds-IRS                                514,358
   Total Other Current Assets                      $    4,331,978
  Total Current Assets                             $    5,335,143
  Fixed Assets
   Homestead                                            2,612,800
   Lakehouse                                            1,750,000
   Ranch Property                                       2,189,220
   Rental Property                                        505,000
   Vehicles and Marine Assets
     Dodge Charger                                         70,618
     Ford Expedition                                       21,463
     Marine Assets                                        114,300
   Total Vehicles and Marine Assets                $      206,381
  Total Fixed Assets                               $    7,263,401
  Other Assets
   Interests In Trust                                     131,528
   Ownership Interests in Non Public Entities              17,302
   Personal Property                                      171,536
   Receivable from Descendants Trust                       30,832
   Receivable from Mrs. Jones                                  8,363
  Total Other Assets                               $      359,561
 TOTAL ASSETS                                      $   12,958,105




 Case 22-33553                                                         Unaudited
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                                         Alex Jones
                                        Balance Sheet
                                    As of December 31, 2023

                                                                                                    Total
 LIABILITIES AND EQUITY
   Liabilities
      Current Liabilities
         Accounts Payable
           Accounts Payable                                                                                49,299
         Total Accounts Payable                                                               $            49,299
         Other Current Liabilities
           Accrued Professional Fees                                                                   2,164,086
           Accrued Property Tax Payable                                                                    70,197
           Payroll Tax Payable-Child Care                                                                    4,866
           Payroll Tax Withheld-Child Care                                                                   8,192
         Total Other Current Liabilities                                                      $        2,247,342
      Total Current Liabilities                                                               $        2,296,641
      Long-Term Liabilities
         Rental Property Mortgage                                                                          28,366
      Total Long-Term Liabilities                                                             $            28,366
   Total Liabilities                                                                          $        2,325,007
   Equity
      Opening Balance Equity(1)                                                                      12,694,191
      Owner's Investment
         OtherDeposits/Transfers                                                                         171,668
      Total Owner's Investment                                                                $          171,668
      Owner's Pay & Personal Expenses
         Gifts                                                                                             63,919
      Total Owner's Pay & Personal Expenses                                                   $            63,919
      Retained Earnings                                                                                    13,190
      Net Income                                                                                      -2,309,869
   Total Equity                                                                               $      10,633,099
 TOTAL LIABILITIES AND EQUITY                                                                 $      12,958,105


 Notes
 (1) Includes adjustment for liquidation of crypto in the amount of $43,877 in Dec 2023 that debtor did not report as of the filing
 date.




 Case 22-33553                                                                                                                        Unaudited
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Alexander Emric Jones                            Case No. 22-33553
               Schedule of Payments to Professionals
                            December 1-31, 2023
          Firm Name                     Role                     Amount

      BlackBriar Advisors       Financial Advisors                       -
      Crowe Dunlevy, P.C.       Co-Counsel to Debtor                 276,278
        Jordan & Ortiz          Co-Counsel to Debtor                  38,257
            Teneo               Financial Advisor for Creditor           -
        Rachel Kennerly         Tax Accountant                         3,926
                                                                     318,461
                  Schedule of Payments to Insiders
                            December 1-31, 2023
             Payee                                               Amount


No Payments during the Period
